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   6
   7
   8
                                         UNITED STATES DISTRICT COURT
   9
                                       CENTRAL DISTRICT OF CALIFORNIA
  10
  11
       BERNADETTE ATIENZA, an individual,                CASE NO:      2:16-cv-02881-PSG-JEM
  12
                                     Plaintiff,          ORDER GRANTING REQUEST TO
  13                                                     DISMISS ENTIRE ACTION
                and
  14
       GLOBAL CREDIT & COLLECTIONS
  15   CORPORATION,
  16                  Defendant.

  17
  18            Based on the Request to Dismiss Entire Action filed in this action, the above-

  19   captioned action is dismissed.

  20   IT IS SO ORDERED:

  21
                 9/2/16
  22   DATED: ____________________                            ___________________________________
                                                              JUDGE
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       Case #2:16-cv-02881-PSG-JEM                   1 of 1                         Atienza v. Global Credit
                            ORDER GRANTING STIPULATION AND REQUEST TO DISMISS
                                      ENTIRE ACTION WITH PREJUDICE
